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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               Case No. 8:05CR421
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                      ORDER
                                               )
SHEILA FOX ,                                   )
                                               )
                       Defendant.              )


       IT IS ORDERED that a change of plea for the defendant is scheduled before the
undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
Plaza, Omaha, Nebraska, on May 16, at 8:30 a.m. Since this is a criminal case, the defendant shall
be present, unless excused by the court. If an interpreter is required, one must be requested by
the plaintiff in writing five (5) days in advance of the scheduled hearing.
       The ends of justice will be served by granting the defendant's request for a short continuance
in order to complete plea agreement negotiations, and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising from the date of trial to the date of the
scheduled change of plea hearing, namely, April 10, 2006, through May 16, 2006, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act, for the
reason that defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case, and the failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 5th day of April, 2006.
                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
